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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION

IN RE: ETHICON, INC.
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2327
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                  INACTIVE DOCKET ORDER

       The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and Ethicon, Inc., Johnson & Johnson, and Ethicon LLC, where named (together

referred to as "Ethicon") have agreed to a settlement model with regard to Ethicon. The Court,

therefore, finds it unnecessary to conduct further proceedings or to keep these cases on the active

docket. Accordingly, the Court ORDERS as follows:

       1.        All discovery deadlines are continued until further order of the Court.

       2.        That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

       3.        Plaintiffs and Ethicon may submit an agreed order of dismissal with prejudice on

or before September 1, 2017; if settlements are not finalized and dismissal orders are not

submitted by September 1, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining cases on the inactive docket.

       Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court
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will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

         The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2327 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to send a

copy of this Order to counsel of record and any unrepresented party and to link this Order to the

                                                 3218
Proposed Inactive Docket Order filed at ECF No. ___________.


AGREED TO BY COUNSEL:

Plaintiff(s)                                          Defendants
By authorized counsel:                                By authorized counsel:


/s/ Henry G. Garrard, III___________                  /s/ Christy D. Jones____________
Henry G. Garrard, III                                 Christy D. Jones
BLASINGAME BURCH GARRARD &                            BUTLER SNOW LLP
ASHLEY, PC                                            P.O. Box 6010
P. O. Box 832                                         Ridgeland, MS 39158
Athens, GA 30603                                      601-948-5711
(706) 354-4000                                        christy.jones@butlersnow.com
hgg@bbgbalaw.com


Counsel for Plaintiff(s)                              Counsel for Defendants



APPROVED:

Dated:
                                                       Honorable Joseph R. Goodwin
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                                      EXHIBIT A


                Plaintiff Name                        Civil Action No.
                Flaster, Sheron                       2:14-cv-14271
             Fletcher, Teresa Sue                     2:12-cv-05422
            Flickinger, Theresa L.                    2:13-cv-33792
                Flom, Kari Jean                       2:12-cv-05209
            Floyd (Gowin) , Judith                    2:12-cv-01284
                  Flynn, Laura                        2:14-cv-16389
                       Fohl
                                                       2:13-cv-10964
            (Deceased), Doris Ann
                Ford, Kathleen                         2:14-cv-27148
               Forde, Margaret                         2:11-cv-00353
            Fortner, Frances Jean                      2:13-cv-33781
               Foster, Jane Ann                        2:15-cv-12780
                 Frank, Ronnie                         2:15-cv-01428
                  Frazier, Ann                         2:12-cv-05213
                Frescott., Ruth                        2:13-cv-00051
               Frick, Melissa S.                       2:13-cv-31420
                Fuentes, Mary                          2:14-cv-04463
                   Fuller, Ann                         2:12-cv-00539
                 Gabor, Teresa                         2:12-cv-05423
             Gage, Lorna LuAnn                         2:12-cv-07129
             Gaines, Melissa Ann                       2:12-cv-09568
                Gantt, Jo Ellen                        2:13-cv-28879
            Garnett, Quillan Rentz                     2:12-cv-00286
                  Garris, Mika                         2:14-cv-25420
             Gaudreau, Elizabeth                       2:13-cv-09043
                   Gautchier
                                                       2:13-cv-24138
           (Deceased), Elizabeth J.
              Gilman, Barbara L.                       2:13-cv-24509
                Gilman , Judith                        2:14-cv-18512
                Gilmore, Debra                         2:15-cv-11538
               Glanton, Annette                        2:13-cv-02891
               Gleason, Alicia J.                      2:14-cv-01047
                  Goff, Debra                          2:13-cv-02867
             Goldberg, Melanie S.                      2:13-cv-24731
                    Goll, Julie                        2:12-cv-07297
               Gologan, Didina                         2:12-cv-01528
                  Goltz, Lydia                         2:12-cv-09569
               Gonzales, Amelia                        2:12-cv-00468
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             Goodpasture, Wendy                       2:13-cv-26213
            Goodwin, Margaret Jill                    2:11-cv-00352
            Gramkowski, Sandra L                      2:14-cv-01049
              Grapes, Sharon Sue                      2:12-cv-05519
         Graumann, Rosemarie Mabel                    2:13-cv-33230
             Greenwald, Sue Ann                       2:12-cv-05597
                 Gregory, Mary                        2:14-cv-01094
            Grencavage, Elisabeth                     2:13-cv-23569
                 Grove, Kendra                        2:11-cv-00271
                Gruver, Roza M.                       2:15-cv-12781
                Guirges, Nancy                        2:12-cv-04994
                   Hagar, Gail                        2:14-cv-06320
             Haggerty, Kerrie Lea                     2:15-cv-11393
                   Hale, Libby                        2:13-cv-06025
               Hall, Ethel Dianna                     2:12-cv-05518
               Hall, Mary Helen                       2:12-cv-05600
           Hallett, Joyce McGowan                     2:13-cv-33782
                Haney, Pamela                         2:13-cv-22858
             Hanigan, Cathy Lynn                      2:13-cv-09147
                 Hann, Gladys                         2:14-cv-03410
              Hanna, Shirley Ann                      2:13-cv-09477
               Hannah, LaTricia                       2:13-cv-24558
             Hanners, Linda Susan                     2:13-cv-26214
                 Harden, Carol                        2:13-cv-09487
                 Harlan, Penny                        2:14-cv-02456
                 Harn, Carolyn                        2:12- cv-04374
               Harper, Kadie A.                       2:13-cv-02973
                  Harper, Dina                        2:12-cv-05454
              Harris, Maureen M.                      2:13-cv-05671
                 Harris, Phyllis                      2:14-cv-25576
                Harrison, Susan                       2:12-cv-07036
                 Harrison, Lucy                       2:13-cv-33231
           Harrup, Marsha Sharits                     2:14-cv-02461
                Hart, Doris Jean                      2:13-cv-00032
                 Harvey, Elitha                       2:14-cv-00569
                Hasha, Susan A                        2:14-cv-25107
             Hassan, Princess June                    2:14-cv-02470
             Haze, Rosetta Freely                     2:12-cv-06496
             Heffelfinger, Beverly                    2:13-cv-01826
               Heisten, Rebecca                       2:14-cv-10889
            Henderson, Susan Ann                      2:12-cv-05001



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             Hendrix, Constance                        2:14-cv-01102
              Hennessey, Sandra                        2:14-cv-11589
               Hensch, Kathleen                        2:14-cv-04467
                  Hensley, Rose                        2:13-cv-01091
             Hernandez, Rhonda                         2:14-cv-15951
               Hernandez, Eloida                       2:14-cv-24692
             Hewatt, Shannon O.                        2:12-cv-02279
                Hickman, Anne                          2:13-cv-24490
               Higdon, Jane Reid                       2:13-cv-10692
                   Hill, Julie A.                      2:14-cv-20711
               Hill, Jessica Marie                     2:14-cv-03187
                   Hill, Donna                         2:14-cv-18516
                   Hilo, Karen                         2:13-cv-10978
               Hobbs, Diane M.                         2:13-cv-25731
                Hobson, Ophelia                        2:14-cv-01051
            Hoffman, Barbara Jean                      2:14-cv-04484
            Holcomb, Mia Michelle                      2:13-cv-01367
              Holcomb, Linda C.                        2:13-cv-09228
                  Holland, Amy                         2:12-cv-00256
             Hollars, Misty Dawn                       2:12-cv-03213
               Holloway, Julia A.                      2:12-cv-07122
             Holloway, Montessa                        2:13-cv-32351
                 Hood, Cynthia                         2:13-cv-32388
               Houchin, Jill Jane                      2:14-cv-04489
             Houk, Vicki Herring                       2:12-cv-06490
                 Hovis, Theresa                        2:14-cv-19973
             Howard, Linda Sue                         2:14-cv-11585
            Howard, Wanda Gloria                       2:13-cv-25068
                 Howerton, Lori                        2:13-cv-27045
             Hreiz, Amy Elizabeth                      2:12-cv-02165
             Hubner, Veron Lynn                        2:12-cv-07126
                Hudson, Wanda                          2:12-cv-05598
            Huebner, Dawn Marie                        2:12-cv-07121
                  Hughes, Jane                         2:12-cv-07302
               Hurst, Tina Marie                       2:13-cv-07575
                 Iannuzzi, Carol                       2:13-cv-06022
              Irving, Sandra Eldis                     2:14-cv-11584
                 Irwin , Kathryn                       2:12-cv-01304
              Irwin , Priscilla Ann                    2:12-cv-01878
                  Jackson, Vicki                       2:13-cv-02873
             Jackson, Theresa R.                       2:15-cv-00929



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               Jacobson, Elissa A.                     2:14-cv-19784
                 Javors, Suzanne                       2:13-cv-24129
              Jennings, Lisa Marie                     2:14-cv-21417
             Jeremiah-Neal, Cheryl                     2:13-cv-09148
                Jernigan, Joan E.                      2:12-cv-01850
           Johnson, Mindy Rebecca                      2:12-cv-05208
              Johnson, Sheryl Lynn                     2:12-cv-05211
            Johnson, Vickey Lynne                      2:13-cv-26215
              Johnson, Anita Dawn                      2:13-cv-32354
                 Johnson, Senee                        2:14-cv-25332
               Johnson, Judith H.                      2:15-cv-02570
                 Johnston, Anne                        2:13-cv-10701
                  Jones, Joyce F.                      2:14-cv-04487
             Jones, Dawn Michelle                      2:13-cv-26341
                  Jones, Theresa                       2:13-cv-27246
             Jordan-Herring, Gloria                    2:13-cv-33775
                  Kaitis, Deborah                      2:14-cv-24693
                Kanhai, Annmarie                       2:13-cv-25732
                   Kean, Ruby L.                       2:13-cv-02868
             Kemery, Gail Christine                    2:13-cv-09482
                  Kennedy, Lena                        2:14-cv-07395
               Kerner, Dawn Lynn                       2:12-cv-06021
                    Kesey, Rita                        2:14-cv-26364
                 Key, Terri Lynn                       2:14-cv-15471
           Keyes, Colleen Margaret                     2:13-cv-06015
              Kilday, Mary Luellen                     2:12-cv-00387
                   Killgo, Dyann                       2:14-cv-15470
                    Klag, Nancy                        2:13-cv-22861
                     Koon, Lois                        2:12-cv-05599
               Kreis, Charlie Mae                      2:12-cv-06491
                  Kries, Lorraine                      2:13-cv-24492
              Krug, Mary Elizabeth                     2:12-cv-07303
                 LaClair, Barbara                      2:15-cv-12821
                   Ladner, Mary                        2:12-cv-07047
                Lafazan, Dolores                       2:14-cv-12694
             Lager, Kimberly Diane                     2:12-cv-01305
                   Laird, Jean E.                      2:14-cv-05164
              Lancaster, Kathy Sue                     2:14-cv-04491
                     Lane, Ann                         2:12-cv-01785
                    Lane , Lesa                        2:14-cv-19434
                    Lane , Joan                        2:12-cv-05628



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               Lansing, Brenda Kay                     2:13-cv-05672
                 Larriuz, Raquel                       2:12-cv-06974
                  Larson, Ardith                       2:13-cv-27247
                Laster, Etiole Ann                     2:12-cv-05455
             Lavergne, Meshell Rae                     2:13-cv-07579
                     Law, Tracy                        2:12-cv-07120
              Lawton, Kimberly A.                      2:14-cv-27943
                  Lear, Annette                        2:14-cv-26199
              LeCroy, Mary Frances                     2:14-cv-29471
                  Lee, Brenda C.                       2:13-cv-28292
                     Lee, Diane                        2:14-cv-26391
            Leistikow, Eleanor Irene                   2:13-cv-09481
                    Leon, Nelcy                        2:15-cv-02708
             Lerille, Nancy Wallace                    2:12-cv-01608
                    Lewis, Polly                       2:13-cv-07576
           Lindsey, Lorie {Deceased}                   2:11-cv-00539
                 Livery, Alvina L.                     2:14-cv-24140
                    Lloy, Sandra                       2:13-cv-27162
                Lofton, Angela C.F                     2:13-cv-06021
                 Looney, Bridget                       2:14-cv-01625
                   Lopez, Stella                       2:14-cv-11349
                   Lord, Alma Jo                       2:14-cv-19573
               Lovelace, Linda Lee                     2:12-cv-07116
                  Lowe , Christy                       2:14-cv-27006
                Lowery, Lena Mae                       2:13-cv-00034
                    Lowry, Carla                       2:15-cv-07578
                 Lozano, Lourdes                       2:13-cv-10791
                   Lozar, Shirley                      2:13-cv-24497
                   Luhn, Lisa G.                       2:14-cv-16772
                 Lynn, Kathy Gail                      2:14-cv-05175
                 Lyttle, Jeanne F                      2:13-cv-07583
                 Mabey, Vangee                         2:13-cv-23462
                    Mack, Rose                         2:14-cv-25060
                Manaresi, Patricia                2:14 2:12-cv-12204
             Manderson, Rosemary                       2:14-cv-01635
                 Mangoba, Cecilia                      2:12-cv-06480
                 Manuel, Phillis E.                    2:14-cv-25054
                 Manus, Shannon                        2:12-cv-03868
                  Margritz, Nora                       2:12-cv-06777
                  Marlin, Karen                        2:13-cv-31583
                  Marlow, Janet                        2:14-cv-29213



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              Martin, Eva Dean                         2:12-cv-04329




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